Case 2:04-cV-02868-.]P|\/|-de Document 84 Filed 08/30/05 Page 1 of 3 Page|D 900

 

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Delaware Corporation, and W OFV€WMHM
FEDERAL EXPRESS CORPORATION,
a Delaware Corporation,

NO. 04-2868 Ml/V
Plaintiffs,

v-

THONAS F. DONALDSON, JR. 1

`-i`-I`Ivvvvvvv\_iv

Defendant.

 

ORDER GRANTING MOTION TO `WITHDRAW AND SUBSTITUTE COUNSEL

 

Before the Court is the motion of Attorney Robert L. Moore
and Heaton & Moore, P.C. to withdraw as counsel for Defendant
Thomas F. Donaldson, Jr. and substitute Bruce S. Kramer, Esq. and
Jason G. Wolfkill, Esq. of Borod & Kramer, P.C., filed August 26,

2005. Good cause having been shown, the Court GRANTS the motion.

IT IS SO ORDERED this é§i day of August, 2005.

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JO P. MCCALLA
TED STATES DISTRICT JUDGE

 

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